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                  1:19-cv-756



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

JON UTAUS-SR DOE,                           §
    Plaintiff,                              §
v.                                          §       C.A. No. ___________
                                            §
THE UNIVERSITY OF TEXAS                     §
AT AUSTIN                                   §
    Defendant.                              §

                            PLAINTIFF’S ORIGINAL COMPLAINT

         COME NOW, Plaintiff JON UTAUS-SR DOE to file this “Plaintiff’s

Original Complaint” as follows:

                                     PREAMBLE

         Plaintiff Jon is a passionate young man, who selected to enroll as a student

with Defendant UTAustin. Through no fault of Jon’s, Jon became entangled in

the bureaucracy of Defendant UTAustin, only to be charged, found guilty, and

sanctioned for acts Jon never committed. This is a suit seeking equitable relief

resulting from the intentional violation of Plaintiff Jon’s federal protected rights

(created by the U.S. Constitution) by Defendant The University of Texas at

Austin.

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         4. Plaintiff Jon becomes a Targeted Student and is Sanctioned.
         5. UTAustin’s Draconian Disciplinary Dragnet illegally violated
            Plaintiff Jon’s rights.
         6. Plaintiff Jon has been seriously harmed by UTAustin’s Civil Rights
            Violations.
         7. Defendant UTAustin’s Action Under the Color of State Law.
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    F. CONCLUSION

                                 A.    NATURE OF SUIT

         1.       Plaintiff Jon (defined hereafter) is an undergraduate student attending

Defendant UTAustin (defined hereafter).

         2.       Having graduated from a high school in Texas in May 2018, Plaintiff

Jon had numerous collegiate choices. Jon selected to attend Defendant UTAustin

because of the opportunities offered by Defendant UT Austin, being one of the top

universities in the United States. Specifically, Jon was admitted to attend the

renowned McCombs School of Business.

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         3.       Most unfortunately, in the Fall of 2018, Plaintiff Jon was targeted by

Defendant UTAustin’s Draconian Disciplinary Dragnet (defined hereafter). By

being targeted, Plaintiff Jon’s substantive and procedural due process rights, and,

equal protection rights were trampled upon; and Sanctions (defined hereafter) were

issued which have harmed, and will continue to harm Jon, emotionally and

economically for perhaps the rest of his life.

         4.       Plaintiff Jon now files this original action for damages and equitable

relief pursuant to:

                  42    U.S.C. § 1983 with regards to:

                        Defendant UTAustin’s denial (under the color of law) of
                        Plaintiff Jon’s equal protection violation, procedural due
                        process violations, and substantive due process violations
                        under the Fourteenth Amendment to the U.S.
                        Constitution; and

                                         B.    PARTIES

         5.       Plaintiff JON UTAUS-SR DOE (hereafter, “Jon”) is a male residing in

the State of Texas. Because of the privacy issues involved in this matter and the

likelihood of retaliation by Defendant, Jon is hereby exercising his rights to proceed

with this matter anonymously.


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         6.       The need to protect the identity of Jon shall not hinder the defense of

this matter, for the facts are well known to the Defendant. When applying the

balancing tests to determine the needed protection of the privacy of Plaintiff Jon vs.

the small inconvenience to the Defendant, the protection of Plaintiff’s privacy rights

prevails.

         7.       At such time as the Court might agree on procedures designed to

protect the privacy of Plaintiff Jon and ensure an absence of retaliation, Jon’s

identity shall be disclosed.

         8.       Defendant    THE     UNIVERSITY       OF    TEXAS      AT    AUSTIN

(“UTAustin”) is a public university operating in the State of Texas and may be

served with citation by serving Defendant’s President as follows:

                              The University of Texas at Austin
                                  Attn: Gregory L. Fenves
                                  110 Inner Campus Drive
                                        Stop G3400
                                    Austin, Texas 78712

         9.       Although Defendant UTAustin is owned and operated by the State of

Texas, Defendant UTAustin does receive grants and other funding from the United

States.



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                             C. JURISDICTION and VENUE

         10.      The jurisdiction of this Court is in accordance with 28 U. S. C. § 1331

as involving a federal question proceeding arising under:

                        42 U.S.C. § 1983 (“Section 1983”).

         11.      Venue is proper in the Western District of Texas (Austin Division)

because Defendant UTAustin operates its university in Travis County, Texas which

is within the Western District of Texas.

                            D.        FACTUAL ALLEGATIONS

                                 1.     Who is Plaintiff Jon?

         12.      Plaintiff Jon is a currently a sophomore attending the McCombs

School of Business at Defendant UTAustin.

         13.      Plaintiff Jon was raised by parents who emphasized hard work and

personal integrity, two attributes Jon carries with them daily.

         14.      Plaintiff Jon applied such attributes (hard work and personal integrity)

in everything Jon did.




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         15.      Not surprisingly, Plaintiff Jon graduated from high school in Texas in

May of 10178 and had a vast array of university options to choose from before Jon

selected Defendant UTAustin.

         16.      Out of all the possible 2400 four year and accredited colleges and

universities in the United States, Plaintiff Jon selected Defendant UTAustin to

attend the McCombs School of Business.

         17.      Plaintiff Jon’s selection of Defendant UTAustin was based on Jon’s

belief that not only was Defendant UTAustin the best place for Jon to get the

education Jon passionately desired, but that Defendant UTAustin also exemplified a

university that cared about its students and provided a broad range of student

opportunities (academic and socially) that would allow Jon to grow and mature into

young men ready to pursue successful careers after Jon’s graduation.

         18.      Most regrettably, during Plaintiff Jon’s first semester attending

Defendant UTAustin (being the Fall of 2018 Plaintiff Jon became a Targeted

Student (defined hereafter) resulting in the proposed sanction of suspension, placing

medical school and a career in medicine at risk.




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                    2.    UTAustin’s Draconian Disciplinary Dragnet.

         19.      In advancement of the hereafter described Public Interest, Defendant

UTAustin has created various protocols applicable to all students attending

Defendant UTAustin with regards to allegations of cheating, plagiarism, collusion,

and student honesty and integrity matters (hereafter, collectively “Protocols”).

Although the Protocols are accessible online as part of hundreds of publications and

handbooks, most students at Defendant UTAustin (including Plaintiff Jon) have no

actual knowledge of the Protocols.

         20.      Rather than creating steps to ensure that the students at Defendant

UTAustin (including Plaintiff Jon) are truly aware of the Protocols, Defendant

UTAustin believes it is sufficient to post thousands and thousands of pages online,

assuming that the students are meticulously downloading, reading, and analyzing

the Protocols, rather than tending to such student’s classes.

         21.      Under the Protocols, a student attending Defendant UTAustin can

become a “Targeted Student” for alleged violations of the Protocols by many

different persons and means, including but not being limited to unsupported

allegations and rumors being asserted by the following:


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                  (a)   an enemy of a student;

                  (b)   an ex-boyfriend or ex-girlfriend of a student;

                  (c)   an employee of Defendant UTAustin;

                  (d)   a student guilty of violating the Protocols who is willing
                        to offer names of other students in exchange for a lessor
                        sanction, whether such students were involved or not
                        (being reminiscent of the McCarthyism witch hunts of
                        the 1950s in the United States); or

                  (e)   essentially anyone willing to spread a rumor about a
                        student.

Hereafter, collectively defined as the “Targeting.”

         22.      Under the Protocols, once a student of Defendant UTAustin has

become a Targeted Student of an alleged violation of the Protocols, the Protocols

allow for implementation of various investigation, interrogation, and prosecution

steps.

         23.      The use of the term “investigation” hereafter is used with great

reluctance, as the actual steps pursued by Defendant UTAustin are shrouded in

mystery and fail to follow any meaningful investigation as the term is generally

used and considered. Further, the use of the term “interrogation” in this Complaint

is not intended to be considered mere rhetoric, for the actions undertaken by

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Defendant UTAustin are established steps to interrogate the Targeted Student

without the student being advised of the Possible Sanctions (defined hereafter) that

can be issued against the student, based solely on the student’s statements.

         24.      The investigation, interrogation, and prosecution steps utilized by

Defendant UTAustin after the Targeting of a student, include but are not limited to

the following:

                  (a)   an investigation and interrogation of the Targeted Student
                        by the accuser;

                  (b)   an initial, summary determination of guilt by the accuser;

                  (c)   an initial recommendation for a sanction by the accuser;

                  (d)   an investigation and interrogation of the Targeted Student
                        by the Student Conduct and Academic Integrity
                        department within the Office of the Dean of Students
                        (“Dean of Students”);

                  (e)   a lack of written procedures to be followed during the
                        foregoing referenced investigations and interrogations;

                  (f)   a summary determination of guilt by the Dean of
                        Students (the exclusion of the term “innocence” is not
                        intended to be hyperbole, for upon information and
                        belief, very few of the Targeted Students are determined
                        to be innocent by the Dean of Students);



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                  (g)   a summary issuance of Possible Sanctions by the Dean of
                        Students;

                  (h)   in some cases, the denial of appellate rights of the
                        Possible Sanctions issued;

                  (i)   in other cases (such as Plaintiff Jon), a semi-de novo
                        hearing before a “Committee” of students, and university
                        educators or administrators, all of whom are selected by
                        Defendant UTAustin, is held to consider the allegations
                        (hereafter “Hearing”);

                  (j)   the selection of the students for the Committee is drawn
                        from a pool of students wishing to embellish their own
                        resumes by prosecuting other students;

                  (k)   limited and confusing discovery steps before the Hearing;

                  (l)   limited and confusing procedures followed during the
                        Hearing;

                  (m)   although the Targeted Student is denied the right to legal
                        counsel throughout implementation of the Protocols,
                        Defendant UTAustin usually has two to three attorneys
                        present during the Hearing, to represent Defendant
                        UTAustin, as well as to participate and preside over the
                        prosecution of the Targeted Student and the Committee
                        during the Hearing;

                  (n)   limited and confusing burdens of proof required during
                        the Hearing, under the over used and never truly
                        understood umbrella of “a preponderance of the
                        evidence;”

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                  (o)   private, closed session discussions of the Committee,
                        without the Targeted Student present, but with the legal
                        counsel representing Defendant UTAustin participating,
                        to determine guilt and Possible Sanctions, all of which
                        occur before any record of the Hearing can be transcribed
                        and reviewed;

                  (p)   determination of guilt and issuance of Possible Sanctions
                        by the Committee;

                  (q)   the availability (in most cases) of a “paper” appeal to a
                        designated individual within the Dean of Students
                        (“Appellate Officer”). Until just recently, an appeal from
                        a decision of the Committee after a Hearing was heard by
                        the Office of the President of Defendant UTAustin.
                        Having grown tired of the president of Defendant
                        UTAustin being sued for improper disciplinary decisions,
                        Defendant UTAustin had done away with an appeal to
                        the president, and instead, has designated a person within
                        the Dean of Student’s to consider appeals;

                  (r)   with the Appeal now directed solely to the Appellate
                        Officer within the Dean of Students, the Appeal process
                        has become even more of a bad joke, as the Appeal is
                        being handled by the same office that is in charge of the
                        Draconian Disciplinary Dragnet;

                  (s)   limited and confusing procedures to be followed during
                        the Appeal;

                  (t)   limited and confusing burdens of proof required during
                        the Appel, under the over used and misunderstood
                        umbrella of “a preponderance of the evidence;”


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                  (u)   a unilateral and final determination of the proprietary of
                        the determination of guilt and Possible Sanctions by the
                        Appellate Officer; and

                  (v)   a glaring lack of confidentiality protections throughout
                        the foregoing.

Hereafter, the Protocols, the Targeting, the foregoing investigations, the

interrogations, the Hearing, the Appeal, the lack of appeal, the determinations of

guilt, issuance of Possible Sanctions, the lack of confidentiality safeguards, and the

Double Jeopardy scenario shall be collectively referred to as the “Draconian

Disciplinary Dragnet.”

         25.      Throughout the entirety of Defendant UT Austin’s Draconian

Disciplinary Dragnet, the Targeted Student is denied the right to legal counsel

(“Denial of Legal Counsel”).

         26.      If found guilty during the Draconian Disciplinary Dragnet, there are a

number of “Possible Sanctions” that can be issued against the Targeted Student,

including but not being limited to:

                  (a)   suspension from Defendant UTAustin;

                  (b)   expulsion from Defendant UTAustin;

                  (c)   placement of the Targeted Student on disciplinary
                        probation;
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                  (d)   placement of the Targeted Student on academic
                        probation;

                  (e)   the issuance of a zero for a particular exam or
                        assignment;

                  (f)   the issuance of an “F” for a particular exam or
                        assignment;

                  (g)   the issuance of a Zero for a particular class;

                  (h)   the issuance of an “F” for a particular class;

                  (i)   mandated attendance at counseling or meditative sessions
                        directed by Defendant UTAustin;

                  (j)   the retention of all records of the Draconian Disciplinary
                        Dragnet within the Targeted Student’s student file for
                        seven years; and

                  (k)   a glaring lack of confidentiality protections as to the
                        issuance of the Possible Sanctions.

         27.      Throughout the entirety of Defendant UT Austin’s consideration and

issuance of the Possible Sanctions (such Possible Sanctions hereby deemed to be a

part of the Draconian Disciplinary Dragnet), the Targeted Student is, again, subject

to the Denial of Legal Counsel.




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         28.      In the words of Defendant UTAustin, the Draconian Disciplinary

Dragnet is (paraphrasing) “an educational process for the students, which does not

require the right to legal counsel or a higher level of due process” (hereafter, the

“Educational Process View”).

         29.      Defendant    UTAustin’s      Educational     Process     View       exists

notwithstanding that the Draconian Disciplinary Dragnet directly causes serious

economic and emotional harm to a Targeted Student, including but not limited to

the following:

                  (a)   causing the Targeted Student to be suspended, or
                        expelled; thereby incurring the economic damages of
                        having to pay to re-do a year or more, or forever altering
                        post-graduate and career plans;

                  (b)   to retake a class, thereby incurring the economic damages
                        of having to pay for the same class twice, having to re-do
                        a year or more, or forever altering post-graduate and
                        career plans;

                  (c)   in cases where a suspension or expulsion is mandated,
                        then the Targeted Student is denied the ability to continue
                        with additional university studies as planned, as well as
                        being harmed in efforts to enter into the employment
                        market or causing economic harm for the rest of the
                        Targeted Student’s life;




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                  (d)   in cases where a class retake is mandated, depending on
                        how often Defendant UT Austin offers the class to be
                        retaken, the retake sanction can often require an
                        additional year of attendance at Defendant UTAustin,
                        which then mandates additional tuition, room, and board
                        expenses;

                  (e)   under the foregoing circumstances when an additional
                        year, or perhaps more, is required as a result of the
                        Possible Sanctions, then the Target Student is faced with
                        additional student loan repayments and interest;

                  (f)   a potential transfer of the Targeted Student to other
                        universities can be denied;

                  (g)   the Targeted Student’s reputation is harmed within the
                        professor and administrative community of Defendant
                        UTAustin and elsewhere;

                  (h)   the Targeted Student’s reputation is harmed within the
                        student community of Defendant UTAustin and
                        elsewhere;

                  (i)   the Targeted Student’s reputation is harmed within the
                        family of the Targeted Student;

                  (j)   because employers and other university applications now
                        often ask whether the Targeted Student was ever the
                        subject of a disciplinary matter while at Defendant
                        UTAustin, the required “yes” answer by the Targeted
                        Student eliminates employment and educational
                        opportunities with a lifetime economic impact;



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                  (k)        the mandated counseling or meditative sessions (being
                             nothing more than forced counseling not under the care
                             of a medical professional) can interfere with the
                             emotional and mental well-being of the Targeted Student;

                  (l)        the Targeted Student often suffers serious negative
                             emotional, physical, and mental harm;

                  (m)        the Targeted Student’s emotional, physical, and mental
                             harm can continue throughout such Student’s life;

                  (n)        the Targeted Student’s emotional, physical, and mental
                             harm can cause scenarios of self-inflicted physical harm
                             to the Targeted Student that previously did not exist;

                  (o)        the Targeted Student’s emotional, physical, and mental
                             harm can create life and death risks to the Targeted
                             Student that previously did not exist; and

                  (p)        the treatment of the foregoing described emotional,
                             physical, and mental harm creates health care and
                             medical expenses.

Hereafter, the foregoing shall be referred to collectively as the “Potential Harm.”

                        3.     Purported Public Interest being protected by
                               UTAustin’s Draconian Disciplinary Dragnet.

         30.      Based upon information and belief, the purported public interest

(“Public Interest”) being advanced and protected by Defendant UT Austin through




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Defendant UTAustin’s use of the Draconian Disciplinary Dragnet is to protect the

integrity of degrees granted by Defendant UTAustin.

         31.      When reviewing, however, the Potential Harm to the Targeted Student,

Defendant UTAustin’s Educational Process View is untenable, for the Draconian

Disciplinary Dragnet is arbitrary and not reasonably related to Defendant

UTAustin’s Purported Public Interest.

         32.      Further, the Potential Harm to the Targeted Student does not support

the limitations and failures of Defendant UTAustin’s Draconian Disciplinary

Dragnet, and, the need to avoid the Potential Harm to be suffered by the Targeted

Student far outweighs the manner in which Defendant UTAustin has elected to

protect the stated Public Interest.

           4.      Plaintiff Jon becomes a Targeted Student and is Sanctioned.

         33.      In the Fall of 2018, Plaintiff became a Targeted Student as a result of

“False allegations” being made against Jon.

         34.      Following the playbook of Defendant UTAustin’s Draconian

Disciplinary Dragnet, Plaintiff Jon was summoned to a meeting with the Dean of




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Students (hereafter “DS Meeting”), wherein Jon was accused of having violated the

Protocols of Defendant UT Austin.

         35.      Plaintiff Jon was denied the right to attorney participation in the DS

Meeting.

         36.      The allegations and arguments made by Defendant UTAustin during

the DS Meeting:

                  (a)   were confusing;

                  (b)   included the Dean of Student’s own unsupported
                        assumptions and conclusions as to Jon’s purported
                        actions;

                  (c)   assumed that Plaintiff Jon was obviously guilty of
                        something, because Jon was a Targeted Student; and

                  (d)   were clearly conclusory.

         37.      After the foregoing investigation and interrogation by the Dean of

Students but still during the short DS Meeting, the Dean of Students informed

Plaintiff Jon that Jon was found guilty of the violating the Protocols of Defendant

UTAustin, proven by a preponderance of the evidence and would be sanctioned by

being suspended the “University Decision”).




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         38.      Throughout the numerous steps of the Defendant UTAustin’s

Draconian Disciplinary Dragnet, representatives of Defendant UTAustin, throw

around the phrase “preponderance of the evidence” without any meaningful

understanding or policy as to what the true meaning of such phrase is. In doing so,

Defendant UTAustin is purposely misleading each Targeted Student into believing

that some sort of judicial process is being followed, which is wholly false.

         39.      As to Plaintiff Jon, the University Decision was that:

                  (a)   Jon had colluded with other students (”Collusion”), based
                        solely on Defendant UTAustin’s use of a computer
                        generated analysis of the result of various quizzes taken
                        during one particular course (“Course”) in the Fall of
                        2018 and without any testimony from any student or
                        class professor;

                  (b)   Jon would be required to write a Reflection Paper-Honor
                        Code and Academic Integrity;

                  (c)   Jon would receive an “F” for the Course, would not only
                        harm Jon’s otherwise pristine transcript with Defendant
                        UTAustin but would require Jon to repeat the Course;
                        and

                  (d)   Jon would be placed on Academic Integrity Probation
                        (“Probation”); and




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                  (e)   Jon’s academic records with Defendant UTAustin would
                        reflect the issuance of the “F” and the Academic
                        Probation.

For the purposes hereof, the sanctions set forth in subparagraph (c) and (d) above

shall be collectively referred to as the “Sanctions.”

         40.      In accordance with the Protocols of Defendant UTAustin, Plaintiff Jon

then did elect to have finding of Collusion and the issuance of the Sanctions head

by a Committee.

         41.      A Committee was subsequently convened, and a Hearing held to

consider the University Decision.

         42.      During the Hearing:

                  (a)   Jon took certain on-line quizzes (“Quizzes”) in his
                        dorm room, that, at times, had other students present;

                  (b)   Neither the course syllabus nor the University Rules
                        prohibited me from taking the Quizzes in the presence of
                        other students; provided, that I did not collude with the
                        other students;

                  (c)   The only evidence presented against Jon during the
                        Hearing was a report generated and testimony by, a
                        representative of the Liberal Arts Technology
                        Instructional Technology Service (LAITS);




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                  (d)   The LAITS representative and Jon were the only
                        witnesses called by the University to testify at the
                        Hearing;

                  (e)   The LAITS representative testified that the LAITS report
                        and her testimony were not evidence of Collusion,
                        rather merely data for review and analysis by the
                        respective professor;

                  (f)   The University failed to call the respective professor as a
                        witness to formally testify that the LAITS data supported
                        a finding of cheating or collusion;

                  (g)   As a witness for myself, Jon called Jeffrey Miller, Ph.D.
                        (“Dr. Miller”), a professor of computer science at the
                        University of Southern California who testified as to the
                        deficiencies contained within the LAITS report;

                  (h)   In addition to Dr. Miller’s testimony, the Committee was
                        provided with an “Expert Report” prepared by Dr. Miller,
                        which Dr. Miller discussed at length during the Hearing;

                  (i)   Dr. Miller’s testimony and Expert Report articulated that
                        the data gathered by LAITS showed that I did not collude
                        with anyone else during the Quizzes;

                  (j)   The LAITS representative was present during the
                        testimony of Dr. Miller;

                  (k)   The Dean of Students was provided an opportunity for
                        the LAITS representative to ask rebuttal questions of Dr.
                        Miller, and the Dean of Students and the LAITS
                        representative declined; and


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                  (l)    The Dean of Students was then also provided an
                         opportunity to offer additional testimony to rebut any or
                         all of the testimony given by Dr. Miller, including Dr.
                         Miller’s Report, and the Dean of Students and the LAITS
                         representative declined to offer any rebuttal evidence.

(For the purposes hereof, the foregoing shall be referred to as the “Undisputed

Evidence”).

         43.      Notwithstanding the Undisputed Evidence that Plaintiff Jon was not

guilt of Collusion, the Committee issued a written decision (“Committee Decision”)

that:

                   (a)   affirmed the University Decision and the Sanctions;

                   (b)   made findings in support of the University Decision
                         including the adoption, in total, of the testimony and
                         report offered by LAITS; and

                   (c)   made no findings as to the uncontroverted expert
                         testimony offered by Dr. Miller.

         44.      Plaintiff Jon did Appeal the Committee Decision, including the

Sanctions, to the Appellate Officer who summarily upheld the Committee Decision,

including the Sanctions.

         45.      In upholding the Committee Decision, the Appellate Officer stated:

                  (a)    Relied upon the Defendant UTAustin’s Protocols,
                         wherein: “Legal rules of evidence do not apply to
                         hearings under the subchapter, the hearing officer or
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                        foreperson of the SCB (herein, the Committee) panel may
                        admit and give effect to evidence…”
                  (b)   Ignored the Uncontroverted Evidence;
                  (c)   Ignored the Committee’s failure to even acknowledge the
                        uncontroverted testimony offered by Dr. Miller which
                        exonerated Jon; and
                  (d)   Made a finding that the Committee was within the
                        Committee’s rights to ignore the uncontroverted
                        testimony offered by Dr. Miller which exonerated Jon.

          5.       UTAustin’s Draconian Disciplinary Dragnet illegally violated
                                   Plaintiff Jon’s Rights.

         46.      The issuance of the University Decision, the Committee Decision, and

the upholding of the Committee’s Decision by the Appellate Officer as to Plaintiff

Jon, including the issued Sanctions, resulting from Defendant UTAustin’s

Draconian Disciplinary Dragnet is arbitrary and capricious, and, not reasonably

related to Defendant UTAustin’s Purported Public Interest with regards to Plaintiff

Jon.

         47.      Further, the Sanctions imposed upon Plaintiff Jon were not appropriate

to the alleged wrong committed by Plaintiff Jon, for such Sanctions are ongoing, for

the rest of Plaintiff’s Jon’s life and impact Jon’s Property Interest (defined

hereafter).


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         48.      With the issuance of the University Decision, the Committee’s

Decision, including the Sanctions, and the upholding of the Committee’s Decision

by the Appellate Officer as to Plaintiff Jon, the imposition of Defendant UTAustin’s

Draconian Disciplinary Dragnet upon Plaintiff Jon (including but not being limited

to the Denial of Legal Counsel) is complete and Sanctions permanent in violation of

Jon’s:

                  substantive and procedural due process rights and guarantees of
                  equal protection created by the U.S. Constitution.

For the purposes hereof, the foregoing violations shall be collectively referred to as

the “Civil Rights Violations” committed by Defendant UTAustin.

                     6.     Plaintiff Jon has been seriously harmed by
                              UTAustin’s Civil Rights Violations.

         49.      As a direct result of the Defendant UTAustin’s Civil Rights Violations

against Plaintiff Jon, the Potential Harm has become a reality for Jon.

         50.      Upon on information and belief, an excessively high percentage of

Targeted Students then being sanctioned by Defendant UTAustin makes clear that

the presumption of innocence obviously plays no part of the UTAustin’s Draconian

Disciplinary Dragnet.



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         51.      As a direct result of Defendant UTAustin’s Civil Rights Violations

against Plaintiff Jon, Jon has also suffered physical, emotional, and economic harm

as a result of Defendant UTAustin’s Civil Rights Violations, and, shall suffer future

physical, emotional, and economic harm, including actual and consequential

damages.

         52.      As a direct result of the Defendant UTAustin’s Civil Rights Violations

against Plaintiff Jon, Jon’s mental health has deteriorated and is likely to continue

to deteriorate.

         53.      Plaintiff Jon’s enrollment with Different UTAustin and Jon’s payment

of tuition and other required fees to Defendant UTAustin, created a financial and

economic interest in obtaining a degree with future economic value (collectively

hereafter, “Property Interest”).

         54.      As a direct result of the Defendant UTAustin’s Civil Rights Violations

against Plaintiff Jon, Jon will (a) have to retake the class already taken but given an

“F” (resulting in economic harm in and of itself), (b) remain on Probation, thereby

being subject to even suspension or expulsion in the event Jon is again targeted by

Defendant’s UTAustin’s Draconian Disciplinary Dragnet, and (c) will forever have


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a tarnished reputation and record as to Jon’s studies at Defendant UTAustin which

will affect Jon’s economic and career opportunities for the rest of Jon’s life.

         55.      The foregoing economic results of the Sanctions impact Plaintiff Jon,

as previously discussed in the Potential Harm, is now a reality for Jon.

         56.      Defendant UTAustin’s Civil Rights Violations as to Plaintiff Jon were

committed intentionally and in bad faith, or with reckless disregard for the outcome,

constituting a conscious indifference by Defendant UTAustin.

           7.      Defendant UTAustin’s Action Under the Color of State Law.

         57.      The administrators participating in Defendant UTAustin’s Civil Rights

Violations, including but not being limited to representatives of the Dean of

Students including the Appellate Officer, are the individuals charged with the

responsibility of implementing the Protocols, which were established by the policy

makers of Defendant UTAustin and were implementing the policies and customs

(the Protocols) of Defendant UTAustin when committing the Civil Rights

Violations.

         58.      Further, if any portion of such policies are not, in fact written, each of

the administrators participating in Defendant UTAustin’s Civil Rights Violations,



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were implementing the policies and customs of Defendant UTAustin in accord with

the customs and practices of Defendant UTAustin.

         59.      Additional   insight into   the   university wide     acceptance    and

implementation of the Defendant UTAustin’s policies and customs being at the core

of Defendant UTAustin’s Draconian Disciplinary Dragnet is provided by the

following two events occurring in recent matters unrelated to Plaintiff Jon:

                  (a)   In December 2018, a United States Congressman (from
                        the State of Texas) contacted the Washington D.C. office
                        of Defendant UTAustin to obtain more information
                        related to one of his constituents (being a student at
                        Defendant UTAustin) having been sanctioned as a result
                        of the Draconian Disciplinary Dragnet. In no uncertain
                        terms, a vice chancellor of Defendant UTAustin
                        informed the Congressman, paraphrasing, that
                        Defendant UTAustin would not be responding to the
                        Congressman’s inquiry, would not look into any
                        purported disciplinary matter, and would not even return
                        any future calls or further inquiries from the
                        Congressman related to disciplinary matters of Defendant
                        UTAustin’s students; and

                  (b)   In a separate matter occurring this month, an attorney
                        representing a separated Targeted Student, raised certain
                        jurisdictional issues related to the Draconian Disciplinary
                        Dragnet and was informed, paraphrasing, there might
                        not be a written policy giving us (Defendant UTAustin)
                        jurisdiction over the Targeted Student, but that is how we
                        choose to proceed.
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                               8.    Administrative Remedies.

         60.      There are no administrative remedy preconditions (“Preconditions”)

required prior to seeking relief under the laws being invoked herein by Plaintiff Jon.

Even if such Preconditions did exist, the actions of Defendant UTAustin have

shown that such efforts would be futile or are otherwise moot.

         61.      As a result of Defendant UTAustin’s Civil Rights Violations

committed against Plaintiff Jon, Jon was required to engage legal counsel to protect

Jon’s rights and redress the harm Jon has suffered.

         62.      All conditions precedent to Plaintiff Jon bringing these claims have

been met.

                         E. PLAINTIFF’S CAUSE OF ACTION

         63.      Plaintiff Jon incorporates by reference the facts set forth in foregoing

ARTICLE D: GENERAL BACKGROUND hereof.

                      COUNT ONE: SECTION 1983 VIOLATIONS

         64.      Defendant UTAustin’s implementation of the Draconian Disciplinary

Dragnet, the University Decision, and the Sanctions, Discriminatory are not

warranted denials of Jon’s rights, sufficient to support the Public Interest

purportedly being protected.
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         65.      Section 1983 of Title 42 of the United States Code provides, in part,:

                        “Every person who under color of any statute,
                        ordinance, regulation, custom, or usage, of any
                        State…subjects, or causes to be subjected, and citizen
                        of the United States…to the deprivation of any rights,
                        privileges, or immunities secured by the Constitution
                        and laws, shall be liable to the part injured in an
                        action at law, suit in equity, or other proper
                        proceeding for redress…”

         66.      Defendant UTAustin’s Civil Rights Violations were committed against

Plaintiff Jon under the color of law and resulted in the violation of Plaintiff Jon’s

rights under the United States Constitution and other federal laws.

         67.      Specifically, Defendant UTAustin’s Civil Rights Violations were

committed under the color of law and resulted in the violation of Plaintiff Jon’s

rights under:

                  (a)   the procedural due process requirements of the United
                        States Constitution as set forth in the Fourteenth
                        Amendment, in violation of Jon’s Property Rights;

                  (b)   the substantive due process requirements of the United
                        States Constitution set forth in the Fourteenth
                        Amendment in violation of Jon’s Property Rights; and

                  (c)   the equal protection requirements of the United States
                        Constitution set forth in the Fourteenth Amendment in
                        violation of Jon’s Property Rights.

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         68.      Defendant UTAustin’s discriminatory conduct toward Plaintiff Jon,

in violation of Section 1983 have caused Plaintiff Jon to suffer a loss of benefits

and created economic losses, including all actual, consequential, continuing, and

future compensatory damages.

         69.      Defendant UTAustin’s Civil Rights Violations against Plaintiff Jon

in violation of Section 1983 have caused Plaintiff Jon to suffer mental and

emotional distress and damages, including all actual, consequential, continuing,

and future compensatory damages.

         70.      Although the Eleventh Amendment to the United States Constitution

prevents Plaintiff Jon from seeking financial damages against Defendant

UTAustin for Defendant UTAustin’s violation of Jon Civil Rights, Section 1983

does allow Jon to seek equitable relief, which Jon does now seek, including but

not being limited to:

                  (a)   reversal of the Decision;

                  (b)   removal of the Sanctions;

                  (c)   requiring Defendant UTAustin to strike all negative
                        information, emails, evaluations, and materials as to
                        Plaintiff Jon relating to the foregoing actions and
                        Sanctions from the records of Defendant UTAustin; and

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                  (d)   the removal from all of Plaintiff Jon’s records at
                        Defendant UTAustin that Plaintiff Jon was ever the
                        subject of any disciplinary matter while attending
                        Defendant UTAustin.

For the purposes hereof, the equitable relief set forth in Subparagraphs (c) and (d)
shall be collectively referred to as “Expungement”).

                               F.   REQUEST FOR JURY

         71.      Plaintiff Jon hereby requests that a jury be empaneled, and, that the

foregoing causes of actions and requests for relief be presented to such jury for

resolution.

                               G . PRAYER FOR RELIEF

         WHEREFORE, Plaintiff JON UTAUS-SR DOE prays the necessary

summons be issued; that upon final trial hereof, that Plaintiff Jon be granted the

equitable relief requested; and that Plaintiff Jon have such further and other relief,

general and special, both at law or in equity, to which he may show himself to be

justly entitled.




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         Respectfully submitted,

                                   GORMAN LAW FIRM, pllc



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